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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


THE UNITED STATES OF AMERICA,

               v.
                                                             Case No. 21-cr-00563 (JDB)
VICTORIA CHARITY WHITE,

                       Defendant.


                         MOTION TO WITHDRAW AS COUNSEL

       Joseph D. McBride, Esq., attorney of record for VICTORIA CHARITY WHITE, the

defendant in the above-captioned case, respectfully moves this Honorable Court for an order

allowing undersigned counsel to withdraw as attorney of record.

                                    STATEMENT OF FACTS

       On June 1, 2022, Ms. White privately terminated undersigned counsel in writing via text

message and then published said termination on Twitter. Undersigned counsel has made

multiple unsuccessful attempts to speak to Ms. White since that time, including calling her on

June 21, 2022, at 8:50 PM, EST.

       WHEREFORE, it is respectfully requested that considering the abovementioned facts,

this court issue an order permitting undersigned counsel to withdraw as attorney of record, and

by doing so relieve him of any further obligation to this case.

Dated: New York, New York
       June 21, 2022                                  Respectfully Submitted,

                                                      /s/ Joseph D. McBride, Esq.
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